                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 DAVID LEE, LARRY GEANES, ERIC M.
 HARLSTON, REGINALD E. HARRIS, MERVIN
 HOWARD, GWENDOLYN JACKSON, ANDREA
 LOGAN, CHARLES LONGSTREET, LYNDELL
 LUSTER, DAVID ROBERTSON, KIMBERLY K.
 SMITH,
                                                                 No. 16 cv 10904
                          Plaintiffs,
                                                                 Judge Sharon Johnson Coleman
 v.
                                                                 Mag. Judge Schenkier
 THE NORTHEAST ILLINOIS REGIONAL
 COMMUTER RAILROAD CORPORATION d/b/a
 METRA, et at.,

                                    Defendants.

                              PETITION FOR COURT ORDERED
                             ATTORNEY’S FEES AND SANCTIONS

         The Defendants Northeast Illinois Regional Commuter Railroad Corporation (“Metra”),

JOSEPH M. PEREZ, in his individual capacity as Metra Chief of Police, HAROLD FULLER, in his

individual capacity and official capacity as Metra Commander of Police, BRYAN MACK, in his

individual capacity and official capacity as Area II Commander, PAUL RIGGIO, in his individual

capacity and official capacity as Metra Operations Commander, STEVE ALVARADO, in his

individual capacity and official capacity as Metra Police Detective, BRIAN PETERS, in his individual

capacity and official capacity as Metra Police Captain, GLENN M. TRECKLER, in his individual

capacity and official capacity as Metra Police Lieutenant, CARL ANDERSON, in his individual

capacity and official capacity as Deputy Police Chief, and ART OLSEN, in his individual capacity and

official capacity as Metra Hearing Officer, by and through their counsel of record, Minya L. Coleman,

and pursuant to LR 54.3(d), submit the following petition relating to attorneys’ fees:

      1) On October 22, 2018 this court granted Defendants’ Motion for Attorney Fees and Sanctions

         under 28 U.S.C. §1927. Dkt. 57.


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   2) On October 24, 2018 Plaintiffs filed their Motion to Stay this court’s October 22, 2018 Order

       granting Defendants Motion for Attorney Fees and Sanctions under § 1927, pending the

       outcome of Plaintiffs’ appeal. Dkt. 62.

   3) On October 30, 2018 thise court ruled that Plaintiffs Motion to Stay the October 22, 2018

       Order would be taken under advisement. Dkt. 76.

   4) On November 7, 2018 the court granted Defendant’s Motion for Enlargement of Time to file

       their affidavit of rate and hours against Plaintiffs’ frivolous claims. Dkt. 76. In accordance

       thereto, Defendants served same upon Plaintiffs’ counsels. Dkt. 79-1; Exhibit A – Defendants

       Affidavit of Rates and Hours.

   5) On January 8, 2019, the U.S. Court of Appeals for the 7th Circuit entered an order affirming

       the District Court’s dismissal of Plaintiffs’ action with prejudice. Lee, et al. v. NIRCRC, et al.,

       18-1930, Dkt. 36. As such, there is no just cause to further delay the enforcement of this

       Court’s October 22, 2018 Order granting Defendants’ Motion for Attorney Fees and

       Sanctions pursuant to § 1927.

   6) As of the day of this filing, Plaintiffs have not presented any comparator rates or opposition

       to Defendants’ Affidavit of Rates and Hours as prescribed in LR 54.3(d)(5)(A-D).

   7) Total Fees Claimed by the Moving Party equal $29,760.40, as fully itemized in Exhibit A.

WHEREFORE, Defendants request that their Petition for Court Ordered Attorney Fees and

Sanctions be granted and for any further relief it deems appropriate.

                                                Respectfully submitted,

                                                By:       /s/ Minya L. Coleman
                                                          Minya L. Coleman
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